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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 14-cr-20627

v.                                                          Honorable Thomas L. Ludington

D-3 MARCOS DELGADO,

                      Defendant.

_______________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On July 12, 2016, United States Magistrate Judge Patricia T. Morris conducted a plea

hearing pursuant to Defendant’s consent. The Magistrate Judge issued her report on July 12,

2016, recommending that this Court accept Defendant’s plea of guilty.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action may

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The failure to file objections waives any

right to appeal the magistrate judge’s findings that Defendant was competent to enter a plea, and

that the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact.

Thomas v. Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation,

ECF No. 88, is ADOPTED.

       It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 87, is taken UNDER ADVISEMENT.
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Dated: July 28, 2016                                                         s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge

                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on July 28, 2016.

                                                         s/Michael A. Sian
                                                         MICHAEL A. SIAN, Case Manager
